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                           EXHIBIT 15
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 From:            William C. McCorriston
 To:              Lowell, Abbe
 Cc:              David J. Minkin; nickielumdavis
 Subject:         Re: Nickie Mali Lum Davis
 Date:            Thursday, August 27, 2020 2:38:56 PM
 Attachments:     image003.png


Abbe, thank you for again disclosing in detail your prior representations of and/ or contacts with
individuals brought to your attention by the government to Nickie as well as to David Minkin and me. As
I stated in my earlier email to you, Ms Davis acknowledges your previous disclosures and wishes to
proceed with your representation of her. David and I as independent counsel confirm that Ms Davis is
making an informed and voluntary decision with assistance of independent counsel. Accordingly, please
finalize the language with the government on this issue. WCM

Sent from my iPhone


       On Aug 27, 2020, at 3:03 AM, Lowell, Abbe <ADLowell@                           > wrote:



       At least for the optics and impact, I would like to get the court to wait on my PHV. I do not need
       that to be helpful to Nickie in what she needs now or even at debriefings esp. if the appearance,
       etc. is in Hawaii




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